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OD-MONTH REPORT OF THE
TECHNICAL COMPLIANCE ADVISOR

DECEMBER 9, 2015 — JUNE 9, 2016

Office of the Technical Compliance Advisor to the
Agreement for the Sustainable Reform of the
Puerto Rico Police Department
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OFFICE OF THE TECHNICAL COMPLIANCE ADVISOR

